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4                            IN THE UNITED STATES DISTRICT COURT
5                         FOR THE EASTERN DISTRICT OF CALIFORNIA
6

7    UNITED STATES OF AMERICA,                        Case No.: 1:15-cr-00288-005 LJO
8                         Plaintiff,                  ORDER OF RELEASE
9          v.
10   CAESAR ALEJANDRO GOMEZ
11                        Defendant.
12

13          IT IS HEREBY ORDERED that defendant Caesar Alejandro Gomez shall be released
14
     from the Kern County Jail December 20, 2017 at 10:00 a. m. Kathy Grinstead, of Early
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     intervention Services who will then transport the defendant directly to the Comprehensive
16
     Addiction Program (CAP) in Fresno, California to be admitted and to complete the residential
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     program and aftercare program.
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     IT IS SO ORDERED.
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        Dated:    December 20, 2017                       /s/ Lawrence J. O’Neill _____
                                                 UNITED STATES CHIEF DISTRICT JUDGE
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